              Case: 1:25-cv-00130-DAR Doc #: 1-3 Filed: 01/22/25 1 of 4. PageID #: 19


AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the

                                                   Southern District of Ohio




                             Plaintiff                                                            cvo Q
                                V.                                     Civil Action No.

                                     MA
                            Defendant


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
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        (~J ,3rd 5-creek
 C\~vPv\0~v.a Q~~ 0 ya\\3
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
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Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)

          1i I personally served the summons on the individual at (place)
                                                                                On (date)                          or

          El I left the summons at the individual's residence or usual place of abode with (name)
                                                              a person of suitable age and discretion who resides there,
          on (date)                              , and mailed a copy to the individual's last known address; or

          Q I served the summons on (name of individual)                                                                   who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 On (date)                         or

          O I returned the summons unexecuted because                                                                          or

          El Other (specify):




           My fees are $                         for travel and $                 for services, for a total of $        0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                       Server's signature



                                                                                     Printed name and title




                                                                                        Server's address

 Additional information regarding attempted service, etc:
AO 420 (Rev. 12/09) Summons in a Civil Action
                 Case: 1:25-cv-00130-DAR Doc #: 1-3 Filed: 01/22/25 3 of 4. PageID #: 21
                                            UNI ED S RTES DISTRICT CURT
                                                               for the
                                                     Southern District of Ohio



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                                                                                                                                a
                                       V.                                Civil Action No,


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                                   Deferi ant

                                                 SUMMONS IJN A CIIVfl]L ACT1 ON

To: (Defendant's name and address)


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~ — 3 l"                   r2`av~~
O\So -\c\\\5
            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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F. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


                 i)A
    ate:    \"         T       5
                                                                                           Signature of Clerk or Deputy Clerk
           Case:
 AO 440 (Rev.         1:25-cv-00130-DAR
              12/09) summons in a Civil Action (Page 2)   Doc #: 1-3 Filed: 01/22/25 4 of 4. PageID #: 22
  Civil Action No.

                                                            Pl(8®®lF OF §IEI[W1JCIE
                      (T i. sectro➢t .clwttld twt be filed with he court uatiess reGiuired by FeeL Abe Civ. P. 4 4V)


           This summons for (name of individual and title, if any)
  was received by me on (date)


          ® I personally served the summons on the individual at (place)
                                                                                  on (date)                        ; or


          ® l left the summons at the individual's residence or usual place of abode with (name)
                                                                a person of suitable age and discretion who resides there,
          on (date)                               , and mailed a copy to the individual's last known address; or

            J I served the summons on (name of individual)                                                                       who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                          or


          [5lJ l returned the summons unenecuted because                                                                            or




          6~ Other (sped):




          Icy fees are $                         for travel and $                 for services, for a total of $          0.00


          I declare_under pea~alty o perjury tfrat thi& mfonnation-ire.



Date:
                                                                                        Server's signature



                                                                                      Printed name and title




                                                                                        Server's address


Additional information regarding attempted service, etc:
